Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 1 of 19 PageID: 1




 LAWRENCE C. HERSH
 Attorney at Law
 17 Sylvan Street, Suite 102B
 Rutherford, NJ 07070
 (201) 507-6300
 Attorney for Plaintiff, and all others similarly situated


                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 ––––––––––––––––––––––––––––––––––––––––– X
                                            :
 DANIELLE KIO, on behalf of herself and all :
 others similarly situated,                 :
                                            :
                         Plaintiff,         : Civil Action No.
                                            :
 vs.                                        : CLASS ACTION COMPLAINT AND
                                            : JURY TRIAL DEMAND
 NATIONAL ENTERPRISE SYSTEMS, INC.,         :
                                            :
                         Defendant.         :
                                            :
                                            :
 –––––––––––––––––––––––––––––––––––––––– X




        Plaintiff DANIELLE KIO (hereinafter “Plaintiff”), on behalf of herself and all

 others similarly situated, by and through her undersigned attorney, alleges against the

 above-named Defendant NATIONAL ENTERPRISE SYSTEMS, INC., its employees,

 agents, and successors, the following:

                              PRELIMINARY STATEMENT

        1.      Plaintiff brings this action for actual and statutory damages and

 declaratory and injunctive relief arising from the Defendant’s violation of 15 U.S.C. §

 1692 et seq., the Fair Debt Collection Practices Act (hereinafter “FDCPA”), which
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 2 of 19 PageID: 2




 prohibits debt collectors from engaging in abusive, deceptive and unfair practices.


                               JURISDICTION AND VENUE

         2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.

 This is an action for violations of 15 U.S.C. § 1692 et seq.

         3.      Venue is proper in this district under 28 U.S.C. §1391(b) because

 jurisdiction is not founded solely on diversity of citizenship and Plaintiff resides in this

 jurisdiction.

                                        DEFINITIONS

         4.      As used in reference to the FDCPA, the terms “creditor,” “consumer,”

 “debt,” and “debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.



                                       JURY DEMAND

         5.      Plaintiff demands a jury trial on all issues.



                                           PARTIES

         6.      The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt

 collection practices provides for the initiation of court proceedings to enjoin violations of

 the FDCPA and to secure such equitable relief as may be appropriate in each case.

         7.      Plaintiff is a natural person and resident of Union County, in the State of

 New Jersey, and is a “Consumer” as defined by 15 U.S.C. § 1692a(3).

         8.      Based upon information and belief defendant NATIONAL ENTERPRISE

 SYSTEMS, INC. (“NES”) is a corporation organized under the laws of the State of Ohio



                                                2
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 3 of 19 PageID: 3




 with its principle place of business located in 2479 Edison Blvd., Unit A, Twinsburg,

 Ohio 44087.

        9.      Based upon information and belief, Defendant is a company that uses the

 mail, telephone, and facsimile and regularly engages in business, the principal purpose of

 which is to attempt to collect debts alleged to be due another. Defendant is a “Debt

 Collector” as that term is defined by 15 U.S.C. §1692(a)(6).

        10.     NES is a debt collector, as defined by § 1692a of the FDCPA, because it

 regularly uses the mails and/or the telephone to collect, or attempt to collect, directly or

 indirectly, defaulted consumer debts. NES operates a nationwide defaulted debt

 collection business, and attempts to collect debts from consumers in virtually every state,

 including consumers in the State of New Jersey. In fact, Defendant NES was acting as a

 debt collector, as that term is defined in the FDCPA, as to the defaulted consumer debt it

 attempted to collect from Plaintiff.



                            CLASS ACTION ALLEGATIONS

        11.     Plaintiff brings this action as a state wide class action, pursuant to Rule 23

 of the Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of herself and all

 New Jersey consumers and their successors in interest (the “Class”), who have received

 debt collection letters and/or notices from the Defendant which are in violation of the

 FDCPA, as described in this Complaint.

        12.     This Action is properly maintained as a class action. The Class consists of:


                •    All New Jersey consumers who were sent letters and/or notices from

                Defendant in a form substantially similar to attached Exhibits B and/or C

                                               3
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 4 of 19 PageID: 4




                which included the alleged conduct and practices described herein.


                The Class period begins one year prior to the filing of this Action,

                inclusive. The class definition may be subsequently modified or refined.

        13.     The Class satisfies all the requirements of Rule 23 of the FRCP for

 maintaining a class action:

                •   Upon information and belief, the Class is so numerous that joinder of

                    all members is impracticable because there are hundreds and/or

                    thousands of persons who have received debt collection letters and/or

                    notices from the Defendant that violate specific provisions of the

                    FDCPA. Plaintiff is complaining of a standard form letter and/or

                    notice that is sent to hundreds of persons (See Exhibits B and C

                    except that the undersigned attorney has, in accordance with Fed. R.

                    Civ. P. 5.2 partially redacted the financial account numbers in an effort

                    to protect Plaintiff’s privacy);

                •   There are questions of law and fact which are common to the Class and

                    which predominate over questions affecting any individual Class

                    member. These common questions of law and fact include, without

                    limitation:

                        a. Whether Defendant violated various provisions of the FDCPA.

                        b. Whether Plaintiff and the Class have been injured by the

                            Defendant’s conduct;




                                               4
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 5 of 19 PageID: 5




                     c. Whether Plaintiff and the Class have sustained damages and

                          are entitled to restitution as a result of Defendant’s

                          wrongdoing, and if so, what is the proper measure and

                          appropriate statutory formula to be applied in determining such

                          damages and restitution; and

                     d. Whether Plaintiff and the Class are entitled to declaratory

                          and/or injunctive relief.

             •   Plaintiff’s claims are typical of the Class, which all arise from the same

                 operative facts and are based on the same legal theories;

             •   Plaintiff has no interest adverse or antagonistic to the interest of the

                 other members of the Class;

             •   Plaintiff will fairly and adequately protect the interest of the Class and

                 has retained experienced and competent attorneys to represent the

                 Class;

             •   A Class Action is superior to other methods for the fair and efficient

                 adjudication of the claims herein asserted. Plaintiff anticipates that no

                 unusual difficulties are likely to be encountered in the management of

                 this class action;

             • A Class Action will permit large numbers of similarly situated persons

                 to prosecute their common claims in a single forum simultaneously

                 and without the duplication of effort and expense that numerous

                 individual actions would engender. Class treatment will also permit the

                 adjudication of relatively small claims by many Class members who



                                             5
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 6 of 19 PageID: 6




                    could not otherwise afford to seek legal redress for the wrongs

                    complained of herein. Absent a Class Action, class members will

                    continue to suffer losses of statutory protected rights as well as

                    monetary damages. If the Defendant’s conduct is allowed to proceed

                    without remedy it will continue to reap and retain the proceeds of its

                    ill-gotten gains;

                •   Defendant have acted on grounds generally applicable to the entire

                    Class, thereby making appropriate final injunctive relief or

                    corresponding declaratory relief with respect to the Class as a whole.


                                STATEMENT OF FACTS

        14.     Plaintiff is at all times relevant to this lawsuit, a "consumer" as that term is

 defined by 15 U.S.C. §1692a(3).

        15.     Defendant collects and attempts to collect debts incurred or alleged to

 have been incurred for personal, family or household purposes on behalf of creditors

 using the United States Postal Service, telephone and/or the Internet.

        16.     Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

        17.     Sometime prior to March 6, 2020, Plaintiff allegedly incurred a financial

 obligation to Bank of America, N.A. (“B of A”) related to a personal loan with an

 account number ending in 5950 (“the Debt”).

        18.     The Debt arose out of a transaction in which money, property, insurance

 or services, which are the subject of the transaction, are primarily for personal, family or

 household purposes.

        19.     The Debt is a "debt" as defined by 15 U.S.C. § 1692a(5).

                                               6
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 7 of 19 PageID: 7




        20.     B of A is a "creditor" as defined by 15 U.S.C. § 1692a(4).

        21.     Sometime prior to March 6, 2020, B of A either directly or through

 intermediate transactions assigned, placed, sold and/or transferred the Debt to Defendant

 for purposes of collection.

        22.     At the time the Debt was assigned, placed, and/or transferred to

 Defendant, the Debt was in default.

        23.     Defendant caused to be delivered to Plaintiff a letter dated March 6, 2020

 concerning the Debt, which sought to collect an amount owed of $21,973.15. Attached

 as Exhibit A is a copy of the March 6, 2020 collection letter.

        24.     The March 6, 2020 collection letter was Defendant’s initial written

 communication to Plaintiff with respect to the Debt.

        25.     As the initial written communication to Plaintiff, the March 6 letter

 included the section 1692g disclosures with respect to Plaintiff’s right to dispute the Debt

 and how to dispute the Debt within 30 days of receipt of the letter.

        26.     Subsequently, Plaintiff received two letters from Defendant, both dated

 April 4, 2020, with each seeking to collect the Debt.

        27.     The first April 4, 2020 letter (“Exhibit B”) provides four separate options

 for paying off the balance in full. A copy of the first April 4, 2020 letter is attached as

 Exhibit B.

        28.     The second April 4, 2020 letter (“Exhibit C”) indicated that Defendant

 was authorized to settle the account in full for something less than the balance in full. A

 copy of the second April 4, 2020 letter is attached as Exhibit C.

        29.     Both April 4, 2020 collection letters were sent or caused to be sent by a

                                              7
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 8 of 19 PageID: 8




 person employed by Defendant as a “debt collector” as defined by 15 U.S.C. § 1692a(6).

         30.      The April 4, 2020 collection letters were each a “communication” as

 defined by 15 U.S.C. § 1692a(2).

         31.      The April 4, 2020 collection letters were sent to Plaintiff at her home

 address in New Jersey.

         32.      Upon receipt, Plaintiff read the April 4, 2020 collection letters.

         33.      Both April 4, 2020 collection letters were sent to Plaintiff within the 30

 day period in which Plaintiff had to dispute the debt, which began at the time that

 Plaintiff received the March 6, 2020 collection letter.

         34.      Both April 4, 2020 collection letters sought to collect the Debt from

 Plaintiff.

         35.      Both April 4, 2020 collection letters overshadowed Plaintiff’s right to

 seek validation of the Debt under section 1692g(a).

         36.      Neither April 4, 2020 collection letter informed Plaintiff that she still had

 time to exercise her right to dispute and seek validation of the Debt.

         37.      Defendant’s sending of two April 4 letters on the same day to collect the

 Debt was conduct which was harassing, oppressive and/or abusive in an attempt to coerce

 Plaintiff to pay the Debt.

         38.      The content of the two April 4, 2020 collection letters are inconsistent

 with each other and would confuse and/or deceive the least sophisticated consumer as to

 how much he or she would be required to pay in order to settle the Debt.

         39.      The Exhibit B collection letter provides:
 Please note the payment options below that are available to you as of the date of this letter. You may
 make payment through the mail or over the phone by calling us at (800) 925-6141.

                                                    8
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 9 of 19 PageID: 9




 Make one payment of the total amount due $21,973.15
 Pay 11 monthly payments of$ 1,831.10 and one final payment of $1,831.05
 Pay 35 monthly payments of$ 610.37 and one final payment of $610.20
 Pay 59 monthly payments of$ 366.22 and one final payment of $366.17

 (emphasis added).

         40.     Specifically, the Exhibit B collection letter provides four payment options,

 all of which offer payment of the debt in full. By stating in the Exhibit B Collection

 Letter, “Please note the payment options below that are available to you as of the date of

 this letter” implies to the least sophisticated consumer that these are the only payment

 options available as of the April 4 date of the letter.

         41.     In contrast, the Exhibit C collection cetter, also dated April 4, 2020,

 provides that Plaintiff could pay less than the full amount to settle the Debt in full.

         42.     The least sophisticated consumer would be confused after reading both

 Exhibits B and C and not know whether he or she would have to pay the full amount on

 the Debt or could pay less than the full amount, since the two letters, are contradictory in

 their settlement options.

         43.     The two April 4, 2020 letters when read together are deceptive, false

 and/or misleading.

         44.     Defendant violated Plaintiff’s rights not to be the target of misleading debt

 collection communications.

         45.     Defendant violated Plaintiff’s right to a trustful and fair debt collection

 process.

         46.     Under the FDCPA, Plaintiff had the right to receive certain information

 from Defendant regarding his or her rights under the FDCPA.

         47.     Defendant’s communications were designed to cause Plaintiff to suffer a

                                                  9
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 10 of 19 PageID: 10




   harmful disadvantage in charting a course of action in response to Defendant’s collection

   efforts.

              48.   Defendant’s   collection      letters   provided   confusing   and   incorrect

   information caused Plaintiff a concrete injury in that Plaintiff was deprived of her right to

   receive accurate and trustworthy information regarding her rights under the FDCPA.

              49.   Defendant’s communications were designed to cause Plaintiff to suffer a

   harmful disadvantage in charting a course of action in response to Defendant’s collection

   efforts.

              50.   The FDCPA ensures that consumers are fully and truthfully apprised of

   the facts and of their rights, the act enables them to understand, make informed decisions

   about, and participate fully and meaningfully in the debt collection process. The purpose

   of the FDCPA is to provide information that helps consumers to choose intelligently. The

   Defendant’s false representations misled the Plaintiff in a manner that deprived Plaintiff

   of his or her right to enjoy these benefits.

              51.   As a result of Defendant’s conduct, Plaintiff suffered an actual, concrete

   injury as a result of Defendant’s failure to provide Plaintiff information required under

   the FDCPA.

              52.   Plaintiff’s receipt of a collection letter which provided incorrect,

   incomplete and confusing information constitutes a concrete injury.

              53.   The failure of Defendant to provide correct information impeded

   Plaintiff’s ability to make a well-reasoned decision.

              54.   Defendant’s failure to provide accurate information injured Plaintiff in

   that it impacted her ability to decide on how to proceed with respect to the matter.

                                                   10
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 11 of 19 PageID: 11




           55.     The deceptive communication additionally violated the FDCPA since it

   frustrated Plaintiff’s ability to intelligently choose his or her response.


                     POLICIES AND PRACTICES COMPLAINED OF

           56.     It is Defendant’s policy and practice to send written collection

   communications, in the form annexed hereto as Exhibits B and/or C, which violate the

   FDCPA, by inter alia:

                   (a)     Using false, deceptive or misleading representations or means in
                           connection with the collection of a debt;

                   (b)     By overshadowing Plaintiff’s right to dispute the debt; and

                   (c)     Using unfair or unconscionable means to collect or attempt to
                           collect any debt.

           57.     On information and belief, Defendant sent written communications, in the

   form annexed hereto as Exhibits B and/or C to at least 30 natural persons in the State of

   New Jersey.



                                             COUNT I

             FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692
                              VIOLATIONS

           58.     Plaintiff repeats the allegations contained in paragraphs 1 through 57 as if

   the same were set forth at length.

           59.     Defendant violated 15 U.S.C. §1692 et seq. of the FDCPA in connection

   with its collection attempts against Plaintiff and others similarly situated.

           60.     By sending collection letters, the same as or substantially similar to

   Exhibits B and/or C, Defendant violated:

                                                 11
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 12 of 19 PageID: 12




          A. 15 U.S.C. §1692d, by engaging in conduct the natural consequence of which

              is to harass, oppress or abuse any person in connection with the collection of a

              debt;

          B. 15 U.S.C. §1692e, by using a false, deceptive or misleading representation or

              means in connection with the collection of any debt;

          C. 15 U.S.C. §1692e(5) by threatening to take any action that cannot legally be

              taken or this is not intended to be taken;

          D. 15 U.S.C. § 1692e(10) by using a false representation or deceptive means to

              collect or attempt to collect a debt from Plaintiff;

          E. 15 U.S.C. §1692f by using unfair or unconscionable means to collect or

              attempt to collect any debt;

          F. 15 U.S.C. §1692g(b) by engaging in collection activity within the 30 day

              period which overshadowed Plaintiff’s right to dispute the debt.

          WHEREFORE, Plaintiff, on behalf of herself and others similarly situated,

   demands judgment against Defendant as follows:

          (a) Declaring that this action is properly maintainable as a Class Action and

   certifying Plaintiff as Class representative and attorney Lawrence Hersh, Esq., as Class

   Counsel;

          (b) Awarding Plaintiff and the Class maximum statutory damages;

           (d) Awarding pre-judgment interest;

          (e) Awarding post-judgment interest;

          (f) Awarding reasonable attorneys’ fees, costs and expenses; and




                                                12
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 13 of 19 PageID: 13




          (g) Awarding Plaintiff and the Class such other and further relief as the Court may

          deem just and proper.

   Dated: Rutherford, New Jersey
          April 2, 2021

                                                  Respectfully submitted,


                                                 By: s/ Lawrence C. Hersh
                                                    Lawrence C. Hersh, Esq.
                                                    17 Sylvan Street, Suite 102B
                                                    Rutherford, NJ 07070
                                                    (201) 507-6300
                                                    Attorney for Plaintiff


                 CERTIFICATION PURSUANT TO LOCAL RULE 11.2

          I, Lawrence C. Hersh, the undersigned attorney of record for Plaintiff, do hereby

   certify to my own knowledge and based upon information available to me at my office,

   the matter in controversy is not the subject of any other action now pending in any court

   or in any arbitration or administrative proceeding.


   Dated: April 2, 2021                  By: s/ Lawrence C. Hersh
                                          Lawrence C. Hersh, Esq




                                               13
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 14 of 19 PageID: 14




                                 EXHIBIT A
    Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 15 of 19 PageID: 15
                                                                                 NA TJONAL ENTERPRISE SYSTEMS
                                                                               24 79 Edison Blvd., Uni t A • Twinsburg, 01-1 44087-2340
                                                                                                   Ph. (800) 925 -6 135

     Ma rch 6. 2020
                                                                             Creditor: Bank of America, N.A.
                                                                             Account Nwnber: XXXXXXXXXXX:X5950
     Danie lle D Kio
                                                                             NES Account Number:            879
                                                                             Please contact : (800) 925-61 35
                                                                             Total Amount Due: $21,973.15




                            The above referenced creditor has placed your account with our office for collection.

      This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be used for
      that purpose.

      Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion
      thereof, this office will assume this debt is valid. If you notify this office in writing at 2479 Edison Blvd., Unit A, Tw insburg,
      OH 44087 within 30 days from receiving this notice that you dispute the validity of this debt or any portion thereof, this office
      will : obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If
      you request this office in writing at 2479 Edison Blvd., Unit A, Twinsburg, OH 44087 within 30 days after receiving this
      notice, this office will provide you with the name and address of the original creditor, if different from the current creditor.

      If you make payment on this account by check, the face amount of the check may be presented to your bank by paper draft or
      electronically as permitted by law.




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Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 16 of 19 PageID: 16




                                 EXHIBIT B
Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 17 of 19 PageID: 17
                                                                                NATIONAL ENTERPRISE SYSTEMS
                                                                              2479 Edison Blvd., Unit A • Twinsburg, OJ 144087-2340
                                                                                                 Ph. (800) 925-614 1



                                                                           Creditor: Bank of America, N.A.
     April 4, 2020
                                                                           Account Number: XXXXXXXXXXXX5950
                                                                           NES Account Number:         879
     Danielle D Kio                                                        Please contact: Roman Pocztar at (800) 925 -614 1 ext. 2072
                                                                           Total Amount Due: $21,973.15




      Please note the payment options below that are available to you as of the date of this letter. You may make pay ment lhrough
      the mail or over the phone by calling us at (800) 925-6141.

      Make one payment of the total amount due $21,973.15
      Pay 11 monthly payments of$ 1,831.10 and one final payment of $1 ,831.05
      Pay 35 monthly payments of$ 610.37 and one final payment of$ 610.20
      Pay 59 monthly payments of$ 366.22 and one final payment of$ 366.17

      Knowing how to manage your money better has never been more important. Now you can take advantage of a free financial
      education tool created by Bank of America in partnership with the Khan Academy. Visit Bettermoneyhabits.com to start
      today.

      This is a communication from a debt collector. This is an attempt to collect a debt and any information obtained will be used
      for that purpose.

      If you make payment on this account by check, the face amount of the check may be presented to your bank by paper draft or
      electronically as permitted by law.




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Case 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21 Page 18 of 19 PageID: 18




                                 EXHIBIT C
ase 2:21-cv-08043-KM-MAH Document 1 Filed 04/02/21
                                       NATIONAL    Page 19SYSTEMS
                                                ENTERPRISE  of 19 PageID: 1
                                                                                  2479 Edison Blvd., Unit A • Twinsburg, 0 1144087-2340
                                                                                                     Ph. (800) 925-6141



                                                                           Creditor: Bank of Ameri ca, N.A.
      April 4. 2020                                                        Account Number: XXXXXXXXXXXX:5950
                                                                           NES Account Number:           79
      Danielle D Kio                                                       Please contact: Roman Pocztar at (800) 925-6 14 l ext. 20 72
                                                                           Balance: $21,973.J 5




       We have been authorized to settle your account, in full , for something less than the balance in full . Please contact
       this office if you would like to discuss this offer.

       TI1is is a communication from a debt collector. TI1is is an attempt to collect a debt and any information obtai ned
       wi ll be used fo r that purpose.

      If you make payment on this account by check, the face amount of the check may be presented to your bank by
      paper draft or elec tronically as permitted by law.




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      Oaks, PA 19456-1280
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